       Case 1:22-cr-00015-APM          Document 91        Filed 04/15/22     Page 1 of 6




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )
                                             )
               v.                            )       No. 22-cr-15 (APM)-7
                                             )
       JOSEPH HACKETT,                       )       Oral Argument Requested
                                             )
                      Defendant.             )
                                             )

            JOSEPH HACKETT’S MOTION TO SEVER COUNT FOURTEEN
                        AND MEMORANDUM OF LAW

       Pursuant to Rule 14(a) of the Federal Rules of Criminal Procedure, Defendant Joseph

Hackett, by and through undersigned counsel, hereby moves this Court to sever Count 14 from

Counts One through Five so that trial on Count 14 is conducted before the same jury after trial on

Counts One through Five concludes. This motion is based on the following memorandum of law

and any other authorities the Court may consider. Mr. Hackett respectfully requests oral

argument on his Motion to Sever Count Fourteen.

   MEMORANDUM OF LAW IN SUPPORT OF JOSEPH HACKETT’S MOTION TO
                    SEVER COUNT FOURTEEN

       An indictment against Mr. Hackett was returned on or about January 12, 2022, charging

him with violations of 18 U.S.C. §§ 2384 (Count One, seditious conspiracy), 1512(k) (Count

Two, conspiracy to obstruct an official proceeding), 1512(c)(2) (Count Three, obstruction of an

official proceeding), 372 (Count Four, conspiracy to prevent an officer from discharging any

duties), 1361 (Count Five, destruction of government property), and 1512(c)(1) (Count 14,



                                                 2
        Case 1:22-cr-00015-APM            Document 91        Filed 04/15/22       Page 2 of 6




tampering with documents or proceedings). Rule 14(a) of the Federal Rules of Criminal

Procedure permits the Court to order separate trials of counts “[i]f the joinder of offenses or

defendants in an indictment . . . appears to prejudice a defendant or the government.” Mr.

Hackett respectfully asserts that he is entitled to severance of Count 14. He does not seek an

entirely separate trial; rather he asks that he first be tried on Counts One through Five of the

Indictment, and upon conclusion of that matter, he will be tried before the same jury on Count

14. It will prejudice Mr. Hackett to be tried on all counts during a single trial proceeding.

I.      LEGAL ARGUMENT

        As a threshold matter, Mr. Hackett does not contend that Count 14 was improperly joined

with Counts One through Five pursuant to Rule 8(a) of the Federal Rules of Criminal Procedure.

If joinder were improper, severance of the offenses would be required. (“Where offenses have

been improperly joined in the indictment, severance is required ‘as a matter of course without

regard to the merits of defendant’s claims of prejudice under Rule 14.’” U.S. v. Dileo, 859 F.

Supp. 940, 942 (W.D. Pa. 1994 (quoting U.S. v. Winchester, 407 F. Supp. 261, 264-65 (D. Del.

1975)). Mr. Hackett acknowledges that because he does not challenge joinder pursuant to

Fed.R.Cr.P. 8(a), relief under Fed.R.Cr.P. 14(a) is discretionary. The court “may order separate

trials of counts, sever the defendants’ trials, or provide any other relief that justice requires.” Id.

        In Drew v. U.S., 331 F.2d 85 (D.C. Cir. 1964), this Circuit explained that

                [t]he justification for a liberal rule on joinder of offenses appears to be the
                economy of a single trial. The argument against joinder is that the defendant may
                be prejudiced for one or more of the following reasons: (1) he may become
                embarrassed or confounded in presenting separate defenses; (2) the jury may use
                the evidence of one of the crimes charged to infer a criminal disposition on the
                part of the defendant from which is found his guilty of the other crime or crimes
                charged; or (3) the jury may cumulate the evidence of the various crimes charged



                                                   3
        Case 1:22-cr-00015-APM           Document 91        Filed 04/15/22      Page 3 of 6




               and find guilt when, if considered separately, it would not so find. A less tangible,
               but perhaps equally persuasive, element of prejudice may reside in a latent feeling
               of hostility engineered by the charging of several crimes as distinct from only one.
               Thus, in any given case the court must weigh prejudice to the defendant caused by
               the joinder against the obviously important considerations of economy and
               expedition in judicial administration.
Id. at 88.

        In Mr. Hackett’s case, all three concerns articulated by the Drew Court are implicated;

moreover, Mr. Hackett does not seek to select two juries. He proposes that one jury will first

hear the evidence and arguments as to Counts One through Five, and upon conclusion of that

trial, the same jury will hear evidence and argument as to Count 14. His proposal does not add a

significant burden to the Court.

        Mr. Hackett’s defense to Count 14 cannot be fairly and adequately presented to the jury if

he is forced to defend all six counts in one, single trial. As the Drew Court explains, a defendant

may become “confounded in presenting separate defenses,” id., which is one of Mr. Hackett’s

concerns. If the Court requires further explanation, Mr. Hackett respectfully asks that his

counsel be permitted to present additional information in camera for the Court’s inspection. To

elaborate further requires Mr. Hackett to waive defense work product, and he is not prepared to

do so unless it is in camera and kept confidential from the government until the trial begins.

        There exists a real danger that if the jury hears evidence on all six counts in one, single

trial, the “jury may use the evidence of one of the crimes charged to infer a criminal disposition

on the part of the defendant from which is found his guilt of the other crime or crimes charged.”

See id., supra, 331 F.2d at 88. The government alleges that Mr. Hackett’s participation in events

prior to and on January 6, 2021, amount to criminal conduct in violation of Counts One through

Five. Count 14, however, alleges that sometime on or after January 6, 2021, Mr. Hackett deleted



                                                  4
        Case 1:22-cr-00015-APM           Document 91         Filed 04/15/22      Page 4 of 6




non-specified material from his cellular telephone. The jury may improperly infer that because

he deleted something from his cellular phone, he must have believed himself guilty of the

conduct charged in Counts One through Five. Conversely, the jury may infer that because of his

conduct prior to and on January 6, 2021, he must have known he was committing obstruction

when he deleted items from his phone.

       Lastly, there also exists the danger that the jury may cumulate the evidence from all

charges and find him guilty of all counts, when the outcome may be different if presented at two

separate trial proceedings. Mr. Hackett contends that jury and limiting instructions are not

sufficient to cure the prejudice created by trying him on all six counts in one, single trial.

II.    CONCLUSION

       For the reasons set forth herein, Mr. Hackett respectfully moves the Court to sever Count

14 and allow Mr. Hackett to proceed to trial on that count following conclusion of trial on Counts

One through Five of the Indictment. Mr. Hackett requests oral argument and he reserves the

right to supplement his Motion to Dismiss as appropriate or necessary.



                                                       Respectfully submitted,




                                                       ______/s/ Angela Halim__________
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                                                       Counsel for Joseph Hackett
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                                                  5
       Case 1:22-cr-00015-APM          Document 91        Filed 04/15/22     Page 5 of 6




                                CERTIFICATE OF SERVICE

        I hereby certify that on this date, a copy of the foregoing Motion to Sever Count Fourteen
and Memorandum of Law was electronically filed with the Clerk of the U.S. District Court for
the District of Columbia via CM/ECF. The same is available for viewing and downloading upon
the following:


                                     AUSA Jeffrey Nestler
                                  AUSA Kathryn L. Rakoczy
                              Office of the United States Attorney
                                      555 4th Street, NW
                                    Washington D.C. 20001




                                                            ______/s/ Angela Halim ________
                                                            Angela Halim, Esq.

Dated: April 15, 2022




                                                6
       Case 1:22-cr-00015-APM         Document 91       Filed 04/15/22       Page 6 of 6




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                   )
                                            )
                      Plaintiff,            )
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              v.                            )      No. 22-cr-15 (APM)-7
                                            )
       JOSEPH HACKETT,                      )
                                            )
                      Defendant.            )
                                            )

                                           ORDER

       AND NOW, this _____ day of ________________, 2022, upon consideration of

Defendant’s Motion to Sever Count Fourteen, the government’s response thereto, and oral

argument, it is hereby ORDERED that the motion is GRANTED. Count Fourteen shall be

severed and tried separately from Counts One through Five before the jury.




                                            _____________________________
                                            The Honorable Amit P. Mehta
                                            United States District Court Judge
